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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF WISCONSIN


QUINCY M. NERI,

                              Plaintiff,                                        ORDER
       v.
                                                                            13-cv-382-bbc
SENTINEL INSURANCE COMPANY LTD and
ERIC FERGUSON dba/WHITE SCHOOL STUDIOS,

                              Defendant.

       Plaintiff Quincy Neri has filed a proposed civil complaint. Plaintiff has asked for leave

to proceed in forma pauperis and has supported her request with an affidavit of indigency. The

standard for determining whether plaintiff qualifies for indigent status is the following:

       !       From plaintiff’s annual gross income, the court subtracts $3,700 for each

               dependent excluding the plaintiff.

       !       If the balance is less than $16,000, the plaintiff may proceed without any

               prepayment of fees and costs.

       !       If the balance is greater than $16,000 but less than $32,000, the plaintiff must

               prepay half the fees and costs.

       !       If the balance is greater than $32,000, the plaintiff must prepay all fees and costs.

       !       Substantial assets or debts require individual consideration.

       In this case, plaintiff is unemployed and receives $1,000 a month from her family. She

has no dependents and does not have a checking or savings account. Because plaintiff’s annual

income is less than $16,000, she can proceed without any prepayment of fees or costs.
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       Accordingly, IT IS ORDERED that plaintiff Quincy Neri’s complaint is taken under

advisement. As soon as the court’s calendar permits, plaintiff’s complaint will be screened

pursuant to 28 U.S.C. § 1915 to determine whether the case must be dismissed either because

the complaint is frivolous or malicious, fails to state a claim on which relief may be granted or

seeks monetary relief against a defendant who is immune from such relief. Plaintiff will be

notified promptly when such a decision has been made. In the meantime, if plaintiff needs to

communicate with the court about this case, she should be sure to write the case number shown

above on his communication.

       Entered this 5th day of June, 2013.

                                             BY THE COURT:


                                             /s/
                                             PETER OPPENEER
                                             Magistrate Judge




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